USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 1 of 206




          EXHIBIT 9
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 2 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 3 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 4 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 5 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 6 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 7 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 8 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 9 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 10 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 11 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 12 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 13 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 14 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 15 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 16 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 17 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 18 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 19 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 20 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 21 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 22 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 23 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 24 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 25 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 26 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 27 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 28 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 29 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 30 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 31 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 32 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 33 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 34 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 35 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 36 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 37 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 38 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 39 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 40 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 41 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 42 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 43 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 44 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 45 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 46 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 47 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 48 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 49 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 50 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 51 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 52 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 53 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 54 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 55 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 56 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 57 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 58 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 59 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 60 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 61 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 62 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 63 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 64 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 65 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 66 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 67 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 68 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 69 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 70 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 71 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 72 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 73 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 74 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 75 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 76 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 77 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 78 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 79 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 80 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 81 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 82 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 83 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 84 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 85 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 86 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 87 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 88 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 89 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 90 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 91 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 92 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 93 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 94 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 95 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 96 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 97 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 98 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 99 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 100 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 101 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 102 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 103 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 104 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 105 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 106 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 107 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 108 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 109 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 110 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 111 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 112 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 113 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 114 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 115 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 116 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 117 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 118 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 119 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 120 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 121 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 122 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 123 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 124 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 125 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 126 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 127 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 128 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 129 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 130 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 131 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 132 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 133 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 134 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 135 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 136 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 137 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 138 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 139 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 140 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 141 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 142 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 143 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 144 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 145 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 146 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 147 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 148 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 149 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 150 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 151 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 152 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 153 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 154 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 155 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 156 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 157 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 158 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 159 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 160 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 161 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 162 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 163 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 164 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 165 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 166 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 167 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 168 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 169 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 170 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 171 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 172 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 173 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 174 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 175 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 176 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 177 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 178 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 179 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 180 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 181 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 182 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 183 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 184 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 185 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 186 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 187 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 188 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 189 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 190 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 191 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 192 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 193 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 194 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 195 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 196 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 197 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 198 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 199 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 200 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 201 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 202 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 203 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 204 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 205 of 206
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-32 filed 04/03/20 page 206 of 206
